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       Attorneys for Defendants Broad Auto Transportation
       LLC and Sergio Castro




                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION


AMAL SWAN,                                                                Case No. 3:19-cv-00229
                              Plaintiff,

       v.                                            DEFENDANTS’ NOTICE OF
                                                     REMOVAL
BROAD AUTO TRANSPORTATION LLC, a
Florida Limited Liability Corporation and            JURY TRIAL DEMANDED
SERGIO CASTRO,

                              Defendants.


       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1441, § 1446, and § 1332(a),

Defendants Broad Auto Transportation LLC and Sergio Castro (“Defendants”) remove this action

from the Circuit Court of the State of Oregon for the County of Multnomah to the United States

District Court for the District of Oregon, Portland Division.



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                                      RELEVANT FACTS

       On January 15, 2019, Plaintiff served Defendants with a Summons and Complaint

captioned Amal Swan v. Broad Auto Transportation LLC, a Florida Limited Liability Corporation

and Sergio Castro Case No. 19CV01844, filed in the Circuit Court for the State of Oregon for the

County of Multnomah. See Declaration of Sarah E. Tuthill-Kveton (“Tuthill-Kveton Decl.”), ¶2.

Copies of the Summons and Complaint are attached hereto as Exhibits A and B, respectively. Id.

These documents, taken together, constitute all process, pleadings, and orders served on

Defendants in that action up to the present date. Id.

                                 GROUNDS FOR REMOVAL

       Pursuant to 28 U.S.C. § 1441(a), a defendant may remove an action filed in the state court

to the United States District Court if the district court has diversity jurisdiction over the action.

This action is one over which the district court has diversity jurisdiction under 28 U.S.C. §

1332(a)(1). The grounds for removal of this action are:

       1.      Plaintiff’s principle claims for relief against Defendants exceed $75,000. Plaintiff

seeks damages of $166,770.11. Complaint ¶10.

       2.      Plaintiff and Defendants are residents of different states. Plaintiff resides in Oregon

and Defendant is a Florida foreign business corporation. See Complaint ¶1; see also Defendants’

Corporate Disclosure Statement (being filed concurrently). Defendant is headquartered with its

principal place of business in Florida. Tuthill-Kveton Decl., ¶3. Therefore, the United States

District Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(1).

       3.      This Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b), as less than 30

days have elapsed since copies of the Summons and Complaint were served on Defendants. A

copy of the Affidavit of Service provided by Plaintiff is attached hereto as Exhibit C. Tuthill-


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Kveton Decl., ¶2.

       4.      No further proceedings have occurred in the Circuit Court of the State of Oregon

for the County of Multnomah as of the date of this removal other than outlined herein.

       5.      Counsel for Defendants will file a copy of this Notice of Removal with the Clerk

of the Circuit Court of the State of Oregon for the County of Multnomah and will give notice of

the same to Plaintiff as required by 28 U.S.C. § 1446(d).

       WHEREFORE, Defendants pray that this action be removed from the Circuit Court for the

State of Oregon for the County of Multnomah and placed on the docket of the United States District

Court for the District of Oregon in the Portland Division.


       DATED this 14th day of February, 2019.

                                         CHOCK BARHOUM LLP



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                                             Transportation LLC and Sergio Castro




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       Attorneys for Defendants Broad Auto Transportation
       LLC and Sergio Castro




                             UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                         PORTLAND DIVISION


AMAL SWAN,                                                                   Case No. 3:19-cv-00229
                                  Plaintiff,

       v.                                               CERTIFICATE OF SERVICE

BROAD AUTO TRANSPORTATION LLC, a
Florida Limited Liability Corporation and
SERGIO CASTRO,

                                  Defendants.
       I hereby certify that a true copy of the foregoing DEFENDANTS’ NOTICE OF

REMOVAL was served on:
 Hala J. Gores                                              By hand delivery
 Attorney at Law                                            By first-class mail*
 The Gores Building                                         By electronic service through ECF
 1332 SW Custer Drive                                        system as identified on the Notice
 Portland, OR 97219                                          of Electronic Filing (NEF)
         Attorney for Plaintiff                             By facsimile transmission
                                                             Fax #: (503) 295-2651


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                                                      By e-mail:
                                                       hala@goreslaw.com

     *With first-class postage prepaid and deposited in Portland, Oregon.

     DATED this 14th day of February, 2019.

                                    CHOCK BARHOUM LLP



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